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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 In re:                                           )
                                                  )     Chapter 13
 MILLARD COURTNEY FARMER, JR.,                    )
                                                  )     Case No. 18-52363-JWC
                  Debtor.                         )
                                                  )

                                     CERTIFICATE OF SERVICE

          I hereby certify that on January 11, 2019, a true and exact copy of the Objection to

Motion and Application for Attorney Fees was filed electronically with the Clerk of the Court

using the CM/ECF system, which in turn will send notification of such filing to all interested

parties of record.

          I further certify that on January 11, 2019, a true and correct copy of the Objection to

Motion and Application for Attorney Fees was served upon the parties listed below, via First

Class Mail, postage prepaid.

 Ralph Goldberg                                       Nancy J. Whaley
 Goldberg & Cuvillier, P.C.                           Standing Chapter 13 Trustee
 Suite 100                                            Suite 120
 1400 Montreal Road                                   303 Peachtree Center Avenue
 Tucker, GA 30084                                     Atlanta, GA 30303

 Nan Freeman                                          Millard Courtney Farmer, Jr.
 c/o Ken Gordon, Esquire                              1196 Dekalb Ave
 P.O. Box 1088                                        Atlanta, GA 30307
 Lagrange, GA 30241

 Wilmer Parker                                        Leon S. Jones
 Maloy Jenkins Parker                                 Cameron M. McCord
 1360 Peachtree Stree, NE, Suite 910                  Jones & Walden, LLC
 Atlanta, GA 30309                                    21 Eighth Street, NE
                                                      Atlanta, GA 30309

 City of Atlanta                                      DeKalb County Tax Commissioner
 Office of Revenue                                    4380 Memorial Drive, Suite 100
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55 Trinity Ave, Suite 1350                    Decatur, GA 30032
Atlanta, GA 30303

LVNV Funding, LLC its successors and          Wilmer Parker
assigns as assignee of Citibank, N.A.         Suite 910
Resurgent Capital Services                    1360 Peachtree Street
PO Box 10587                                  Atlanta, Ga. 30309
Greenville, SC 29603


Dated: January 11, 2019            Respectfully submitted,

                                   /s/ Colin M. Bernardino
                                   Colin M. Bernardino, Esq.
                                   KILPATRICK TOWNSEND & STOCKTON LLP
                                   1100 Peachtree Street, Suite 2800
                                   Atlanta, Georgia 30309
                                   Telephone: (404) 815-6500
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                                   Email: cbernardino@kilpatricktownsend.com

                                   Counsel for John H. Murphy




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